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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                )
                                         )
                 Plaintiff / Respondent, )
                                         )
      v.                                 )                Case No. 09-20133-17-JWL
                                         )                Case No. 13-2653-JWL
DELROY BUCKLEY,                          )
                                         )
                 Defendant / Petitioner. )
                                         )
_______________________________________)


                          MEMORANDUM AND ORDER

       The matter is presently before the Court on defendant Delroy Buckley’s pro se

petition to vacate his sentence pursuant to 28 U.S.C. § 2255. For the reasons set forth

below, the Court concludes that defendant’s petition is untimely, and it therefore

dismisses the petition.



       I.     Background

       After a jury trial, defendant was convicted of possession with intent to distribute

marijuana and aiding and abetting money laundering, and the Court sentenced him to a

term of imprisonment of 60 months. The Tenth Circuit affirmed his conviction, see

United States v. Buckley, 508 F. App’x 698 (10th Cir. 2012), and the mandate was

entered on September 5, 2012. Plaintiff subsequently filed the instant petition, by which

he alleges ineffective assistance of counsel. The petition indicates that it was signed and
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served by mail on December 20, 2013, and the petition was filed with the Court on

December 27, 2013.



       II.    Analysis

       In addition to arguing the merits of the petition, the Government contends that

defendant’s petition is untimely. With certain exceptions noted in the statute, the

applicable one-year limitations period for a Section 2255 petition begins to run from the

date a judgment of conviction becomes final. See 28 U.S.C. § 2255(f)(1). Where, as

here, the petitioner does not file a petition for certiorari with the United States Supreme

Court, the judgment of conviction becomes final and the one-year limitations period

begins to run 90 days after the appellate court’s decision. See United States v. Martin,

357 F.3d 1198, 1200 (10th Cir. 2004). Accordingly, defendant’s petition was due on

December 4, 2013. Because defendant did not mail his petition until December 20,

2013, the petition is untimely on its face. See United States v. Gray, 182 F.3d 762, 764-

65, 765 n.4 (10th Cir. 1999) (under prison mailbox rule, Section 2255 petition is timely

if given to prison officials for mailing prior to the filing deadline).

       Defendant argues that the limitations period should be equitably tolled in this

case. Defendant states that the following circumstances support tolling here: defendant

worked diligently to prepare his petition, including by making phone calls and writing

letters to his attorney for documents, which he did not receive until after complaining to

the State Bar on March 28, 2013; because he is not well-versed in the law, he had to seek

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the assistance of someone to help him litigate his case; there are only eight computers

and one inmate law clerk for over 2,500 inmates; the law library is open only

approximately three hours per day, six days per week, with two print sessions per day;

the facility has been on lockdown since May 20, 2012, with restricted movement of

inmates, which made it difficult to coordinate with the inmate assisting him on the

petition; the law library was closed for administrative purposes for a week in January,

June, and December 2013; although the petition was completed on November 30, 2013,

the facility went on lockdown and he and the assisting inmate were ordered back to their

units before the petition could be printed; and the petition was printed and signed at the

first opportunity.

       Equitable tolling of the limitations period for a petition for post-conviction relief

“is only available when an inmate diligently pursues his claims and demonstrates that the

failure to timely file was caused by extraordinary circumstances beyond his control.”

See Marsh v. Soares, 223 F.3d 1217, 1220 (10th Cir. 2000). “An inmate bears a strong

burden to show specific facts to support his claim of extraordinary circumstances and

due diligence.” See Yang v. Archuleta, 525 F.3d 925, 928 (10th Cir. 2008) (quoting

Brown v. Barrow, 512 F.3d 1304, 1307 (11th Cir. 2008)).

               Procedural requirements established by Congress for gaining access
       to the federal courts are not to be disregarded by courts out of a vague
       sympathy for particular litigants. Equitable tolling is a rare remedy to be
       applied in unusual circumstances, not a cure-all for an entirely common
       state of affairs. It is to be applied sparingly.

See id. at 929 (internal quotations and citations omitted).

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         The Court concludes that defendant has not shown by specific facts that

extraordinary circumstances prevented his filing by the deadline. First, defendant’s

reliance on another inmate to help prepare his petition does not excuse his untimeliness;

such reliance does not present an extraordinary or uncommon circumstance, and

defendant bore the responsibility of meeting the deadline for his petition. See Marsh,

223 F.3d at 1220-21 (petitioner’s ignorance of the law and the time needed for an inmate

law clerk to prepare the petition were not sufficient circumstances to support equitable

tolling; “[t]he fact that an inmate law clerk was assisting in drafting the state petition

does not relieve [the petitioner] from the personal responsibility of complying with the

law”).

         Moreover, although defendant states that his access to the law library was limited,

he does not suggest that he was denied such access altogether. Nor has he explained

with any specificity his attempts and requests for access to the library or legal materials

or how he was unable to complete the petition despite apparent access to library, by his

admission, six days each week for most weeks during the year prior to his filing

deadline. Nor has he stated that he made any specific request to print and send his

petition once it was finished in view of the looming deadline. Again, such general

allegations that access to a law library was limited are not sufficient to make a specific

showing that extraordinary circumstances prevented his filing despite acting diligently

during the fifteen months after the Tenth Circuit upheld his conviction. See Marsh, 223

F.3d at 1221 (fact that prison law library was closed for 15 days during the 13 months

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prior to the filing deadline did not support equitable tolling where petitioner did not show

that the lack of access caused his delay in filing); see also United States v. Oakes, 445

F. App’x 88, 93-94 (10th Cir. 2011) (“lack of a library does not rise to the level of an

exceptional and extraordinary circumstance” supporting equitable tolling); United States

v. Martinez, 303 F. App’x 590, 595-96 (10th Cir. 2008) (equitable tolling was not

supported where petitioner made no showing that he requested withheld materials or an

extension of the filing deadline and offered no specificity regarding the lack of access

to legal materials and his steps to pursue his petition diligently); United States v.

Chapman, 220 F. App’x 827, 830 (10th Cir. 2007) (vague and conclusory allegations

that petitioner lacked access to library materials were insufficient to support equitable

tolling); cf. United States v. Gabaldon, 522 F.3d 1121, 1124-26 (10th Cir. 2008) (prison

officials’ complete confiscation of petitioner’s legal materials and refusal to return

documents despite numerous requests during the six weeks prior to the deadline

constituted extraordinary circumstances for purposes of equitable tolling).

       Accordingly, the Court dismisses defendant’s petition as untimely.



       III.   Certificate of Appealability

       Effective December 1, 2009, Rule 11 of the Rules Governing Section 2255

Proceedings states that the Court must issue or deny a certificate of appealability when

it enters a final order adverse to the applicant. “A certificate of appealability may issue

. . . only if the applicant has made a substantial showing of the denial of a constitutional

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right.” 28 U.S.C. § 2253(c)(2).1 To satisfy this standard, the petitioner must demonstrate

that “reasonable jurists would find the district court’s assessment of the constitutional

claims debatable or wrong.” See Saiz v. Ortiz, 393 F.3d 1166, 1171 n.3 (10th Cir. 2004)

(quoting Tennard v. Dretke, 542 U.S. 274, 282 (2004)). Because it is clear that

defendant’s petition was untimely, the Court denies a certificate of appealability.



       IT IS THEREFORE ORDERED BY THE COURT that defendant’s petition to

vacate his sentence pursuant to 28 U.S.C. § 2255 (Doc. # 1619) is hereby dismissed.


       IT IS SO ORDERED.


       Dated this 11th day of July, 2014, in Kansas City, Kansas.

                                                   s/ John W. Lungstrum
                                                   John W. Lungstrum
                                                   United States District Judge




       1
        The denial of a Section 2255 petition is not appealable unless a circuit justice or
a circuit or district judge issues a certificate of appealability. See Fed. R. App. P.
22(b)(1); 28 U.S.C. § 2253(c)(1).

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